12/20/2018                     THURSDAY                                        Judge Trish M Brown
2:00 PM 18-33339 tmb 13 bk     Edward J. Duffy
                               Objection to Claim 3 of Department of Treasury-Internal

                        0      Revenue Service and ORDER and NOTICE Thereon. (23)
                               Edward J. Duffy - db           MICHAEL D O'BRIEN
                               Department of Treasury-Internal     JEREMY N HENDON
                               Wayne Godare - tr
                               Motion to Convert Chapter 13 to Chapter 7 Case and Supporting
                               Document(s). Filing Fee Exempt. Filed by Creditor Department
                               of Treasury-Internal Revenue Service (HENDON, JEREMY) (38)
                               Edward J. Duffy - db          MICHAEL D O'BRIEN
                               Department of Treasury-Internal '\AEREMY N HENDON
                               Wayne Godare - tr
                               Adjourned Confirmation Hearing
                               Edward J. Duffy - db              ~CHAEL D O'BRIEN

                               Wayne Goda re - tr                d£l.w\l\., w ~ _~1 Os wr
                                        "~~                      cr-~.,LJ..-   5foW




Evidentiary Hearing:    Yes:   D          No:   •

                                                                        I




                                                                   Run Date:    12/20/18

                       Case 18-33339-tmb13          Doc 57   Filed 12/20/18
